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               UNITED STATES DISTRICT COURT
              MIDDLE DISTRICT OF PENNSYLVANIA

H. DOE, D. DOE, C. DOE,             :
H.A. DOE, R. DOE, and
R.T. DOE,                           :

              Plaintiffs            :   CIVIL ACTION NO. 3:19-879

     v.                             :        (JUDGE MANNION)

CITY OF WILKES-BARRE and            :
ROBERT COLLINS,
                                    :
              Defendants
                                    :

                              ORDER
    In accordance with the memorandum issued this same day, IT IS

HEREBY ORDERED THAT:

    (1) The motion to dismiss plaintiffs’ third amended complaint filed on

      behalf of defendant Collins (Doc. 77) is GRANTED IN PART AND

      DENIED IN PART.

    (2) The motion is GRANTED to the extent that Counts Three and Eight

      of the third amended complaint are DISMISSED.

    (3) The motion is GRANTED to the extent that defendant Collins seeks

      to have D. Doe and R.T. Doe proceed as a named plaintiffs.
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       (4) The motion is DENIED in all other respects.




                                    s/ Malachy E. Mannion
                                    MALACHY E. MANNION
                                    United States District Court

DATE: September 23, 2021
19-879-02-ORDER




                                     -2-
